
664 S.E.2d 315 (2008)
STATE of North Carolina
v.
Jbarre Jequiz HOPE.
No. 154P08.
Supreme Court of North Carolina.
June 11, 2008.
Brian Aus, Durham, for Hope.
John Maddrey, Assistant Solicitor General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
*316 Prior report: ___ N.C.App. ___, 657 S.E.2d 909.

ORDER
Upon consideration of the petition filed on the 8th day of April 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of June 2008."
